
960 A.2d 627 (2008)
406 Md. 576
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner,
v.
Anthony Ignatius BUTLER, Jr., Respondent.
Misc. Docket AG No. 43, September Term, 2008.
Court of Appeals of Maryland.
November 26, 2008.

ORDER
Upon consideration of the Joint Petition for Suspension of Respondent by Consent, for 30 days filed herein pursuant to Maryland Rule 16-772, it is this 26th day of November, 2008,
ORDERED, by the Court of Appeals of Maryland, that Anthony Ignatius Butler, Jr., be and is hereby, suspended for thirty (30) days by consent from the practice of law in the State of Maryland, effective December 1, 2008; and it is further,
ORDERED, that the Clerk of this Court shall strike the name of Anthony Ignatius Butler, Jr. from the Register of Attorneys, and pursuant to Maryland Rule 16-772(d) shall certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
